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                               UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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   9       LINDA G. P.,                                 Case No. 5:20-cv-02475-VAP-MAR
  10                                Plaintiff,
  11                          v.                        ORDER ACCEPTING FINDINGS
                                                        AND RECOMMENDATION OF
  12                                                    UNITED STATES MAGISTRATE
           KILOLO KIJAKAZI,                             JUDGE
  13       Acting Commissioner of Social Security,
  14
                                    Defendant.
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                Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, the records
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       on file, and the Report and Recommendation of the United States Magistrate Judge.
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       No objections have been filed. The Court accepts the findings and recommendation
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       of the Magistrate Judge.
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                IT IS THEREFORE ORDERED that Judgment be entered REVERSING
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       the Commissioner’s decision REMANDING for further administrative action
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       consistent with this Report.
  23
       Dated: May 31, 2022
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  25                                             HONORABLE VIRGINIA A. PHILLIPS
                                                 United States District Judge
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  27   1
        Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and the
  28   recommendation of the Committee on Court Administration and Case Management of the Judicial
       Conference of the United States.
